Case 1:16-cv-22082-JAL Document 65 Entered on FLSD Docket 12/22/2017 Page 1 of 10



                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

                      CASE NO. 16-22082-CIV-LENARD/GOODMAN

  ROSA CABRERA, et al.,

        Plaintiffs,
  v.

  HIALEAH HOUSING AUTHORITY,
  INC, et al.,

        Defendants.
  _______________________________/

         REPORT AND RECOMMENDATIONS ON MOTION TO TAX COSTS

        Defendants Hialeah Housing Authority, Inc. and Rene Gutierrez (“Defendants”)

  filed a Motion to Tax Costs pursuant to 28 U.S.C. § 1920, Federal Rule of Civil

  Procedure 54(d)(1), and Local Rule 7.3(c) against Plaintiffs Rosa Cabrera and Nelson

  Marquez (“Plaintiffs”). [ECF No. 61]. Defendants request an award of $5,633.10 for their

  taxable costs incurred defending this action. [ECF No. 61-1]. United States District Judge

  Joan A. Lenard referred the Motion to Tax Costs to the Undersigned. [ECF No. 62]. For

  the reasons stated below, the Undersigned respectfully recommends that the District

  Court grant in part Defendants’ motion and award Defendants $4,627.50 ($ 1,005.60 less

  than the amount requested).
Case 1:16-cv-22082-JAL Document 65 Entered on FLSD Docket 12/22/2017 Page 2 of 10



     I.      BACKGROUND

          Plaintiffs sued Defendants and the City of Hialeah for discrimination and

  intentional infliction of emotional distress. [ECF No. 1]. On August 22, 2016, Judge

  Lenard dismissed this case without prejudice based on Plaintiffs’ failure to respond to

  Defendants’ motions to dismiss. [ECF No. 25].

          Plaintiffs filed an amended complaint against Defendants and not the City of

  Hialeah and, based on this, Judge Lenard reopened the case. [ECF No. 33]. On October

  19, 2016, Hialeah Housing Authority filed a motion to dismiss Count II for failure to

  state a claim for municipal liability. [ECF No. 36].

          On February 10, 2017, Judge Lenard granted Hialeah Housing Authority’s

  motion to dismiss Count II, which was the only count alleged against it. [ECF No. 47].

  Plaintiffs did not amend their complaint for a second time to assert any additional

  counts against Hialeah Housing Authority, rendering Rene Gutierrez the sole

  defendant.

          Defendants claim that on Wednesday, April 19, 2017, Plaintiff Nelson Marquez

  appeared with his attorneys for a noticed videotaped deposition at defense counsel’s

  office. However, prior to providing any testimony at the deposition, Plaintiffs made the

  decision to voluntarily dismiss this case with prejudice.




                                               2
Case 1:16-cv-22082-JAL Document 65 Entered on FLSD Docket 12/22/2017 Page 3 of 10



            As a result of this Court’s dismissal of Plaintiffs’ claims against Hialeah Housing

  Authority and Plaintiffs’ voluntary dismissal of the remaining claims against Rene

  Gutierrez, the Undersigned finds that Defendants are the prevailing parties.

            Defendants then filed a Motion to Tax Costs. [ECF No. 61]. Although the

  Motion’s conferral certificate indicates that the parties were unable to reach an

  agreement, Plaintiffs did not file an opposition response, and the time to do so has long

  since expired.

     II.       DEFENDANTS’ REQUEST FOR COSTS

     As the prevailing parties, Defendants seek $5,633.10 in taxable costs: (1) $1,860.00 in

  fees for service of subpoenas; (2) $2,412.50 in fees for court reporting services; (3)

  $190.60 in fees for printing and disbursements; and (4) $1,170.00 for interpreter

  compensation. [ECF No. 61-2].

     III.      APPLICABLE LEGAL STANDARD

            Federal Rule of Civil Procedure 54(d)(1) provides that “[u]nless a federal statute,

  these rules, or a court order provide otherwise, costs – other than attorney’s fees –

  should be allowed to the prevailing party.” Local Rule 7.3(c) establishes guidelines for a

  bill of costs, specifically referencing 28 U.S.C. § 1920. Under § 1920, the following may

  be taxed as costs:

            (1) Fees of the clerk and marshal;
            (2) Fees for printed or electronically recorded transcripts necessarily
                obtained for use in the case;
            (3) Fees and disbursements for printing and witnesses;
                                                 3
Case 1:16-cv-22082-JAL Document 65 Entered on FLSD Docket 12/22/2017 Page 4 of 10



           (4) Fees for exemplification and the costs of making copies of any
               materials where the copies are necessarily obtained for use in the case;
           (5) Docket fees under section 1923 of this title;
           (6) Compensation of court appointed experts, compensation of
               interpreters, and salaries, fees, expenses, and costs of special
               interpretation services under section 1828 of this title.

  28 U.S.C. § 1920.

           Although a prevailing party is entitled to taxable costs, the Court can still

  exercise discretion in awarding costs enumerated in § 1920. See Crawford Fitting Co. v.

  J.T. Gibbons, Inc., 482 U.S. 437, 441-42 (1987). When challenging whether costs are

  taxable, “the losing party bears the burden of demonstrating that a cost is not taxable,

  unless the knowledge regarding the proposed cost is within the exclusive knowledge of

  the prevailing party.” Monelus v. Tocodrian, Inc., 609 F. Supp. 2d 1328, 1333 (S.D. Fla.

  2009) (internal citations omitted). Nevertheless, the court is still limited to taxing only

  those costs specifically authorized by statute. E.E.O.C v. W&O, Inc., 213 F.3d 600, 620

  (11th Cir. 2000) (citing Crawford Fitting Co., 482 U.S. at 445).

     IV.      ANALYSIS

                 1. Fees for Service of Subpoenas

           It is well-established in the Eleventh Circuit that service of process fees paid to

  private process servers are taxable under § 1920(1). W&O, Inc., 213 F.3d at 624; see also

  Dominguez v. Metro. Miami-Dade Cty., No. 03-22821, 2005 WL 5671449, at *3 (S.D. Fla.

  Apr. 15, 2005) (holding that service of subpoena costs are recoverable). However,

  private process server fees cannot exceed the amount the United States Marshals
                                                 4
Case 1:16-cv-22082-JAL Document 65 Entered on FLSD Docket 12/22/2017 Page 5 of 10



  Service charges for personal service of process under 28 U.S.C. § 1921. Monelus, 609 F.

  Supp. 2d at 1333. Twenty-eight C.F.R. § 0.114(a)(3) provides that “[t]he United States

  Marshals Service shall routinely collect fees of $65 per hour for process served or

  executed personally for each item served, plus travel costs and out-of-pocket expenses.”

  Here, Defendants seek a total of $1,860.00 in fees for private process server fees. [ECF

  No. 61-2, p. 2]. Eight of the 19 subpoenas cost $65.00 or less, and total $265. [ECF No. 61-

  2, p. 2]. The Undersigned finds that such rates are reasonable, as they are less than the

  U.S. Marshals’ rate.

         However, Defendants seek a rate of $135.00 for serving subpoenas on ten out-of-

  state entities: (1) JP Morgan Chase Bank; (2) RC/Capital One Bank; (3) RC/Westlake

  Financial Services LLC; (4) RC/Mercedes-Benz Financial Services (two subpoenas for a

  total of $270); (5) Bank of America, N.A.; (6) Merrick Bank; (7) Bank of America, N.A.

  (for a second time); (8) Kay Jewelers; (9) Premier Bank Card; and (10) JCPenny Card

  Services. They also seek a rate of $110.00 for serving a subpoena on MetroPCS, another

  out-of-state entity. 1

         The Undersigned recommends that Judge Lenard tax the subpoenas served on

  these out-of-state entities at a $65.00 rate (totaling $780.00), so that they are in

  1
       The receipts indicate that Defendants used a local process server to serve the out-of-
  state subpoena subjects. However, Defendants have not explained why they had to use
  a South Florida process server to serve these non-South Florida subjects, why Bank of
  America was served on more than one occasion, and why two subpoenas needed to be
  served on RC/Mercedes-Benz Financial Services.

                                               5
Case 1:16-cv-22082-JAL Document 65 Entered on FLSD Docket 12/22/2017 Page 6 of 10



  accordance with the other subpoenas and do not exceed the hourly rate of the U.S.

  Marshals’ Service. Accordingly, the Undersigned recommends that the District Court

  award Defendants $1,045.00 in costs for service of subpoenas.

                  2. Fees for Court Reporting Services

         “The taxation of deposition costs is authorized by § 1920(2).” W&O, Inc., 213 F.3d

  at 620. The factual question of whether specific deposition and transcript costs are

  taxable depends on whether the deposition was “necessarily obtained for use in the

  case.” Id. at 621; see also Rodriguez v. Marble Care Int’l, Inc., 862 F. Supp. 2d 1316, 1320

  (S.D. Fla. 2012). If a deposition cost was incurred merely for convenience, to aid in

  thorough preparation, or for purposes of investigation only, then the cost is not

  recoverable. W&O, Inc., 213 F.3d at 620 (internal citations omitted); see also Rodriguez v.

  M.I. Quality Lawn Maint., Inc., No. 10-21031-CIV, 2012 WL 664275, at *4 (S.D. Fla. Feb. 9,

  2012). It is the losing party’s burden to show that “specific deposition costs . . . [are] not

  necessary for use in the case[.]” Monelus, 609 F. Supp. 2d at 1337 (citing W&O, Inc., 213

  F.3d at 621).

         Courts have ruled that the court reporter’s attendance fees are also taxable

  because “that fee must be paid for the deposition to take place; it is strictly ‘necessary.’”

  Rodriguez, 2012 WL 664275, at *4. (internal citations omitted).

         As the non-prevailing parties, Plaintiffs are faced with the burden of proving that

  the specific deposition costs were not necessary. To date, an opposition response was


                                                 6
Case 1:16-cv-22082-JAL Document 65 Entered on FLSD Docket 12/22/2017 Page 7 of 10



  not filed. Therefore, Plaintiffs have not satisfied their burden, and the Undersigned

  recommends that Judge Lenard award Defendants the requested $2,412.50 for

  deposition costs.

                3. Printing and Disbursements

         Defendants next seek $190.60 in taxable costs related to public records requests,

  copies and certified copies from the Miami-Dade County Clerk’s Office, certified copies

  from the Miami-Dade Police Department, and a production fee from SunTrust bank.

  Defendants claim that they are entitled to such costs under § 1920(3), relating to “[f]ees

  and disbursements for printing and witnesses[.]” § 1920(3).

         Section 1920(3) allows for the recovery of fees related to a witness’s appearance

  before a federal court “or before any person authorized to take his deposition pursuant

  to any rule or order of a court of the United States[.]” 28 U.S.C. § 1821(a)(1); see Morrison

  v. Reichhold Chems., Inc., 97 F.3d 460, 463 (11th Cir. 1996). Defendants have not explained

  how such records are connected to an appearance of a witness in Court or at a

  deposition, thus the Undersigned finds that such fees are not recoverable under §

  1920(3).

         Even though Defendants do not cite to this section in their motion, § 1920(4),

  permits the recovery of “costs of making copies of any materials where the copies are

  necessarily obtained for use in the case.” In determining whether copying costs are

  taxable under § 1920(4), “the court should consider whether the prevailing party could


                                                7
Case 1:16-cv-22082-JAL Document 65 Entered on FLSD Docket 12/22/2017 Page 8 of 10



  have reasonably believed that it was necessary to copy the papers at issue.” W&O Inc.,

  213 F.3d at 623. One such category of taxable costs is “[c]opies attributable to

  discovery.” Id. (citation omitted). Other categories include “copies of pleadings,

  correspondence, and other documents tendered to opposing parties [and] copies of

  pleadings, motions and memorandum which were provided to the court[.]” Horton

  Homes, Inc., v. U.S., Case No. 5:01–cv–130–2(W), 2004 WL 1719354, at *2 (M.D. Ga. June

  20, 2004). The burden is on the prevailing party to establish the nature of the documents

  and how they were used or intended to be used in the case. Scelta v. Delicatessen Support

  Servs., Inc., 203 F. Supp. 2d 1328, 1340 (M.D. Fla. 2002).

         Here, aside from listing the various public record inquiries and associated costs,

  Defendants have not established the nature of the documents and how they were used

  in this case. See McNeeley v. Wilson, No. 212CV488FTM38MRM, 2017 WL 3822734, at *3

  (M.D. Fla. Aug. 30, 2017) (denying motion to tax costs related to public record requests

  because prevailing party did not establish how documents were used in the case).

  Therefore, the Undersigned recommends that Judge Lenard deny Defendants’ request

  to tax costs for these documents under §§ 1920(3) and (4).

                4. Compensation of Interpreters and Costs of Special Interpretation Services
                under 28 U.S.C. § 1828

         Defendants next seek $1,170.00 in taxable costs related to interpretation services.

  Twenty-eight U.S.C. § 1920(6) provides for the recovery of costs associated with an

  interpreter under 29 U.S.C. § 1828. Defendants provided invoices demonstrating

                                                8
Case 1:16-cv-22082-JAL Document 65 Entered on FLSD Docket 12/22/2017 Page 9 of 10



  reasonable costs for interpretation services. [ECF No. 61-2, pp. 13, 19]. Accordingly, the

  Undersigned recommends that Judge Lenard award the requested $1,170.00 to

  Defendants for the compensation of interpreters and costs of special interpretation

  services under 28 U.S.C. § 1828.


     V.       CONCLUSION

           For the reasons stated above, the Undersigned respectfully recommends that the

  District Court grant in part Defendants’ Motion to Tax Costs and award Defendants

  $4,627.50 ($1,005.60 less than the amount requested).




     VI.      OBJECTIONS

           The parties will have fourteen (14) days from the date of being served with a

  copy of this Report and Recommendations within which to file written objections, if

  any, with the United States District Judge. Each party may file a response to the other

  party’s objection within fourteen (14) days of the objection. Failure to file objections

  timely shall bar the parties from a de novo determination by the District Judge of an

  issue covered in the Report and shall bar the parties from attacking on appeal

  unobjected-to factual and legal conclusions contained in this Report except upon

                                              9
Case 1:16-cv-22082-JAL Document 65 Entered on FLSD Docket 12/22/2017 Page 10 of 10



   grounds of plain error if necessary in the interest of justice. See 28 U.S.C. § 636(b)(1);

   Thomas v. Arn, 474 U.S. 140, 149 (1985); Henley v. Johnson, 885 F.2d 790, 794 (1989); 11th

   Cir. R. 3-1 (2016).

          RESPECTFULLY RECOMMENDED in Chambers, in Miami, Florida, December

   22, 2017.




   Copies furnished to:
   The Honorable Joan A. Lenard
   All Counsel of Record




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